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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

WESTERN DIVISION
SHAUNA HURLES, et al., ) CASE NO.: 3:23-cv-01986

)

Plaintiffs, ) JUDGE: JACK ZOUHARY
vs. )
)
TIFFIN UNIVERSITY, )
)
Defendant, )

JOINT STATUS REPORT

Pursuant to the Court’s order dated March 20, 2024 (the “Order’”), Plaintiffs Shauna Hurles
(“Hurles”) and Alex Tozzie (“Tozzie”) (collectively, “Plaintiffs”) and Defendant Tiffin University
“Defendant”; together with Plaintiffs, the “Parties”) submit the following Joint Status Report:

1, In the Order, the Court directed the Parties to submit a status report “indicating
discovery completed, discovery yet to be completed, and any discovery disputes” that the Court
needs to address.

2. The Court, in its Initial Telephone Conference on November 20, 2023, temporarily
stayed all legal filings to “allow counsel to begin and complete Rule 26(a) disclosures and
“{mmerse” themselves in settlement discussions”. /

3. On December 13, 2023 Plaintiff sent informal discovery requests to Defendants
requesting documents crucial to analyzing the plaintiffs’ claims.

4, On January 3, 2024 Defendants’ provided their Initial Disclosures which contained
123 pages of documents that did not fully address Plaintiffs informal discovery request from

December 13, 2023.

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5, The Court held a Status Conference on January 30, 2024 and ordered counsel to
“engage in robust Rule 26(a) disclosures.”

6. On March 13, 2024 Plaintiffs’ narrowed their document requests to exclude
Football, Women’s Outdoor Track, Women’s Indoor Track, Men’s Outdoor Track and Men’s
Indoor Track,

7. On March 28, 2024 Defendants provided a partial response to Plaintiffs’ December
13, 2023 informal discovery request.

8. On April 1, 2024, Defendant issued its First Set of Interrogatories and Requests for
the Production of Documents to Plaintiffs pursuant to FED. R. Civ. P. 33 and 34 (“Defendant’s
Discovery Requests”).

9. On May 3, 2024, and May 7, 2024, Defendant contacted Plaintiffs regarding
Defendant’s Discovery Requests, because Plaintiffs had not yet provided responses.

10. On May 7, 2024, Defendant provided Plaintiffs an extension of time, until June 6,
2024, for Plaintiffs to Defendant’s Discovery Requests.

11. On May 29, 2024, Defendant provided Plaintiffs another extension of time, until
July 5, 2024, for Plaintiffs to respond to Defendant’s Discovery Requests.

12, Plaintiffs have not issued discovery requests to Defendant pursuant to FED. R. Civ.
P, 33, 34, or 36.

13. On June 11, 2024, Defendant produced to Plaintiffs documents labeled
TIFFIN_000129-000243 (the “Production”), without awaiting formal document requests pursuant
to Fep. R. Civ, P. 34. The Production contains contracts for other coaches in response to Plaintiffs’
informal requests for salary information relating to Plaintiffs’ alleged comparators as relevant to

Counts If and WI of Plaintiffs’ First Amended Complaint.

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14, On June 13, 2024 Plaintiff has requested dates for Defendants’ Civ.R. 30(B)
deposition due to the lack of full and complete responses to secure the records originally requested
in the initial informal discovery requests, to include Fed.R. Civ. P. 34 requests.

15. Plaintiffs’ responses to Defendant’s Discovery Requests are due by July 5, 2024.
After Defendant receives Plaintiffs’ responses, Defendant intends to conduct necessary third-party
discovery. Defendant also intends to depose Plaintiffs once Plaintiffs produce the documents
responsive to Defendant’s Discovery Requests.

16. Because Defendant has not yet received Plaintiffs’ responses to Defendant’s
Discovery Requests, Defendant cannot evaluate whether there are discovery disputes that might
require the Court’s assistance,

17, After Plaintiffs receive deposition testimony and response to records requests
Plaintiffs intend to take depositions of the relevant individuals related to the claim. The names
and number of depositions is presently unknown until record discovery is complete. Plaintiffs
believe there may be discovery disputes related to document disclosure but that matter is premature

pending formal discovery.

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CERTIFICATE OF SERVICE

Thereby certify that on June 14, 2024, a true and accurate copy of the foregoing was filed

electronically, which will send notice to all counsel of record.

fs/ Rachel L. Hazelet
One of the Attorneys for Defendant
Tiffin University

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